                    Case 2:17-mj-00652-PAL                 Document 13          Filed 06/20/17        Page 1 of 1

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No. 2:17-mj-0652-PAL
                                                                   )
            BERNARD EDWARD GRIGGLY                                 )
                            Defendant                              )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          Lloyd D. George Federal Courthouse
Place:                                                                    Courtroom No.:         3B
          333 Las Vegas Boulevard South
          Las Vegas, Nevada 89101
          Before the Honorable Magistrate Judge Peggy A. Leen             Date and Time:         6/21/2017, 1:45pm


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         June 15, 2017
                                                                                             Judge’s signature

                                                                                          PEGGY A. LEEN
                                                                                 UNITED STATES MAGISTRATE JUDGE
                                                                                           Printed name and title
